      Case 1:17-cr-00046-JRH-BKE Document 84 Filed 03/06/18 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT

                   FOR THE SOUTHERN DISTRICT OF GEORGIA

                                AUGUSTA DIVISION


UNITED STATES OF AMERICA

             V.                                      CR 117-046


ANTRON WRIGHT
QUINCY WRIGHT


                                      ORDER



      After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which no objections have been filed. Accordingly,
the Court ADOPTS the Report and Recommendation of the Magistrate Judge as its opinion

and DENIES Defendants' Motions to Suppress. (Doc. nos. 55, 56.)

      so ORDERED this                                      ,2018, at Augusta, Georgia.




                                        J. RMro«m.LI^CfflEF JUDGE
                                        UNITED^ATES DISTRICT COURT
                                                     DISTRICT OF GEORGIA
